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                                                                    October 25, 2021

                                                                        VPC
1                                                                        JS-6

2                               UNITED STATES DISTRICT COURT
3                              CENTRAL DISTRICT OF CALIFORNIA
4

5    JENNA GROOM, an individual,           ) CASE NO. 2:19-cv-10359 PSG (Ex)
                                           )
6
                          Plaintiff,       )
                                           ) ORDER FOR DISMISSAL WITH
7    vs.                                   ) PREJUDICE
                                           )
8    CITY OF EL PASO DE ROBLES aka CITY OF )
     PASO ROBLES, a public entity;         )
9
     CHRISTOPHER SEAN MCGUIRE, an          )
                                           )
10   individual; and                       )
     DOES 1 through 10, inclusive,         )
11                                         )
                          Defendants.      )
12                                         )
                                           )
13                                         )
                                           )
14

15

16
     THE COURT ORDERS THE FOLLOWING:
17
     Pursuant to the Notice of Conditional Settlement the parties filed on August 31, 2021
18
     and the subsequent approval of the settlement by the California Joint Power Insurance
19   Authority on September 29, 2021, the Court dismisses the instant action in its entirety
20
     with prejudice.

21   Although the parties emailed their proposed order of dismissal to the Court instead of
22   filing it as directed, the OSC hearing set for October 29, 2021 is VACATED.
23   Dated: October 25, 2021
24

25
                                                        Stanley Blumenfeld, Jr.
26
                                                       United States District Judge
27

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                                               ORDER
